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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH DAKOTA
                                WESTERN DIVISION

                   Jeffrey L. Viken United States District Judge Presiding

Courtroom Deputy - SLT                               Court Reporter – Sheri Not Help Him
Courtroom - RC #1                                    Date – 2/10/2020
U.S. Probation Officer – Diana Lieseth
                                         5:17-cr-50033-01

United States of America                              Sarah Collins and Eric Kelderman

                  Plaintiff,

                     vs.

Stanley Patrick Weber                              Ryan Cox, Harvey Steinberg, and Shane
                                                                 Pullman

                 Defendant.


TIME HEARING SCHEDULED TO BEGIN: 1:30 PM

 TIME:
1:31 PM     Enter contested sentencing hearing

             Sentence:

             Count 2: life imprisonment consecutive to counts 3-5, 7-8, and 10-11 and
             consecutive to the sentence in the District of Montana case number 4:18-cr-
             00014, lifetime supervised release, $100,000 fine, $100 VAF, Restitution
             Deferred

             Count 3: life imprisonment consecutive to counts 2, 4-5, 7-8, and 10-11 and
             consecutive to the sentence in the District of Montana case number 4:18-cr-
             00014, lifetime supervised release, $100,000 fine, $100 VAF, Restitution
             Deferred

             Count 4: life imprisonment consecutive to counts 2-3, 5, 7-8, and 10-11 and
             consecutive to the sentence in the District of Montana case number 4:18-cr-
             00014, lifetime supervised release, $100,000 fine, $100 VAF, Restitution
             Deferred
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             Count 5: life imprisonment consecutive to counts 2-3, 4, 7-8, and 10-11 and
             consecutive to the sentence in the District of Montana case number 4:18-cr-
             00014, lifetime supervised release, $100,000 fine, $100 VAF, Restitution
             Deferred

             Count 7: 15 years imprisonment consecutive to counts 2-3, 4-5, 8, and 10-11 and
             consecutive to the sentence in the District of Montana case number 4:18-cr-
             00014, lifetime supervised release, $100,000 fine, $100 VAF, Restitution
             Deferred

             Count 8: 15 years imprisonment consecutive to counts 2-3, 4-5, 7, and 10-11 and
             consecutive to the sentence in the District of Montana case number 4:18-cr-
             00014, lifetime supervised release, $100,000 fine, $100 VAF, Restitution
             Deferred

             Count 10: 15 years imprisonment consecutive to counts 2-3, 4-5, 7-8, and 11 and
             consecutive to the sentence in the District of Montana case number 4:18-cr-
             00014, lifetime supervised release, $100,000 fine, $100 VAF, Restitution
             Deferred

             Count 11: life imprisonment consecutive to counts 2-3, 4-5, 7-8, and 10 and
             consecutive to the sentence in the District of Montana case number 4:18-cr-
             00014, lifetime supervised release, $100,000 fine, $100 VAF, Restitution
             Deferred

3:17 PM      Court adjourned
